






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00157-CV






Mark O. Shiver and Angela Shiver, Appellants


v.


Philip J. Meszler; G. Jannin Meszler; Bradford Properties, Inc.; Karen Bailey;

MG Real Estate Services, Inc. d/b/a Amerispec Home Inspection Service 

and GMAC Mortgage Corporation, Appellees






FROM THE DISTRICT COURT OF COMAL COUNTY, 207TH JUDICIAL DISTRICT

NO. C2005-0269B, HONORABLE GARY L. STEEL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



		Mark O. Shiver and Angela Shiver attempted to appeal a no-evidence summary
judgment issued by the district court on February 7, 2008, in favor of GMAC Mortgage Corporation. 
It appears from the record that this Court lacks jurisdiction because the judgment did not dispose of
all parties and claims before the trial court in the underlying cause.  See Lehmann v. Har-Con Corp.,
39 S.W.3d 191, 200 (Tex. 2001).

		On June 26, 2008, this Court requested that the Shivers file a written response
demonstrating this Court's jurisdiction over their appeal.  To date, no response has been filed. 
Accordingly, we dismiss this appeal for want of jurisdiction.  See Tex. R. App. P. 42.3(a).



						                                                                                     

						W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   July 29, 2008


